                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

   MICHELLE L. ALMANZA,                                         CIV. NO.: 3:15-cv-389
                                                                (VARLAN/GUYTON)
                  Plaintiff,

          v.

   JEFFERSON B. SESSIONS, III,
   Attorney General, United States Department
   of Justice,

                  Defendant.

        DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION IN LIMINE NO. 3

     Plaintiff’s motion in limine No. 3 is a shell game. For example, while professing the sanctity

  and secrecy of her personal use of a Government owned and issued desktop computer, Plaintiff

  simultaneously offers as evidence her personal use of a Government owned and issued desktop

  computer. See Pl.’s Resp. in Opp’n to Def.’s Mot. for Summ. J., ECF No. 44, Decl. of Michelle

  Almanza, ECF No. 44-2, at PageID 2924, 2946-51, ¶90, (“Attached as Exhibit 7 are some emails

  and Instant Messages…” DOJ-03295, -03276, -03187–03189, and -03192); Pl.’s Rule 26(a)(3)

  Pre-Trial Disclosures, ECF No. 59, at PageID 4532, fn. 1 (“Plaintiff expects to introduce at trial

  the exhibits she filed in support of her motion for summary judgment, which are included in this

  exhibit list.”); see also Pl.’s Mot. in limine No. 3, ECF No. 62, at PageID 4583 (Mischaracterizing

  the content, or Plaintiff’s use of a Government owned and issued desktop computer as; “Ms.

  Almanza’s private ‘instant message’ exchanges between herself and friends”).

     While decrying the revelation of her expressed contempt of her chain of command as not

  relevant (FRE 401), inadmissible (FRE 402), and unfairly prejudicial (FRE 403), Plaintiff fails to

  juxtapose those very rules of evidence to the singular claim in this case to survive motion for



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  summary judgment. A search for the word “retaliation” within Plaintiff’s motion in limine No. 3

  – much less the prima facie elements and shifting burdens – turns up “[n]o matches were found.”

      “Orders in limine which exclude broad categories of evidence should rarely be employed. A

  better practice is to deal with questions of admissibility of evidence as they arise.” Sperberg v.

  Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir. 1975); see also Morrison v. Stephenson,

  No. 2:06-CV-283, 2008 WL 343176, at *1 (S.D. Ohio Feb. 5, 2008) (“Courts . . . are generally

  reluctant to grant broad exclusions of evidence in limine, because “a court is almost always better

  situated during the actual trial to assess the value and utility of evidence.”).

      In its “Memorandum Opinion & Order,” this Court spoke to the prima facie elements of a

  claim of retaliation, noting “[w]ith regard to causation, a plaintiff establishes a causal connection

  in a retaliation case by proffering evidence ‘sufficient to raise the inference that her protected

  activity was the likely reason for the adverse action.’ EEOC v. Avery Dennison Corp., 104 F.3d

  858, 861–62 (6th Cir. 1997) (citing Simmons v. Camden Cty. Bd. of Educ., 757 F.2d 1187, 1189

  (11th Cir. 1985) (finding the causal link element merely requires a plaintiff to establish that the

  protected activity and the adverse action were not ‘wholly unrelated’)).” ECF No. 65, at PageID

  4647.

      Thus, it is relevant, admissible, and not prejudicial to apprise a jury that Plaintiff’s derision of

  her chain of command, manifesting as name-calling and insubordination, rebuts “the inference that

  her protected activity was the likely reason for the adverse action.”

      This Court likewise engaged in a thoughtful “[p]retext [a]nalysis,” pursuant to the burden

  shifting inherent in the claim of retaliation:

          Defendant argues that the allegedly adverse treatment plaintiff suffered in August and
          September 2014 was instead a series of reasonable management decisions within the
          discretion of her supervisor. Defendant notes that assignment to a trial is within plaintiff’s
          position description, that she is not entitled to a flexible work schedule, and that increased




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         scrutiny and reprimands were justified in light of her conduct at the time and her history of
         insubordinate behavior.

  See “Memorandum Opinion & Order,” ECF No. 65, at PageID 4649, “2. Pretext Analysis.”

  By the standard this Court recited as Defendant’s burden to show “reasonable management

  decisions,” untainted by retaliatory motive, the challenged evidence is relevant and therefore

  admissible to substantiate Plaintiff’s oft-shared condescension of Defendant management. 1 This

  animosity manifested as Plaintiff’s insubordinate behavior to which Defendant management

  reasonably responded. It is precisely those “reasonable management decisions” that Plaintiff

  chooses to characterize as “adverse” and “retaliatory” action.

      For the foregoing reasons, Defendant respectfully requests that this Court deny Plaintiff’s

  motion in limine No. 3.




  1
    See Archer Dep. at 122:17–125:2, Ex. 3 (“I conducted a follow-up conversation with Michelle
  concerning the statement of calling him bi-polar.”); 187:4-8; 308:22-23 (“She did call him bipolar
  once in a meeting.”); 309:2-12 (Plaintiff loudly calling Mr. English “bi-polar” amidst a meeting
  with Mr. English’s boss, AO Jane Archer); see also Almanza Dep. at 165:16–170:2 (Plaintiff’s
  instant messages to “Mike Vasquez,” “the top-level IT person for the D.C. District,” sharing her
  opinion that Mr. English “screws up work,” “blames others,” and that “[f]olks at [the Executive
  Office for United States Attorneys] ask [Plaintiff] of him all the time, think he’s a complete idiot.”);
  Id. at 112:1-5, 114:3-12, 114:24–115:8, 118:10-21, 119:16-25, 125:9-13, 127:14-23, 129:6-16,
  134:1-3, 135:20–136:6 (Plaintiff’s whisper campaign amongst District attorneys, support staff, and
  administrative personnel, current and retired, that their IT Systems Manager is an “idiot” and a
  “twit.”)




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  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

   I hereby certify that on June 4, 2018, I electronically filed the foregoing with the Clerk of the

  Court using the CM/ECF system which will send notification of such filing to Jennifer B. Morton,

  Esq. and Maha M. Ayesh, Esq., Counsel for Plaintiff.

                                                     s/Christopher R. Yates_____________
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